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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

In re:                                                 Chapter 1.1

W.R. GRACE & CO., et al.,                              Case No. 01-01139 (JKF)

                            Debtors.                   (Jointly Administered)


                                       AFFIDAVIT OF SERVICE
STATE OF DELAWARE                  )
                                   ) SS
NEW CASTLE COUNTY                  )
               Michael V. Girello, being duly sworn according to law, deposes and says that he
is employed by the law firm of Landis Rath & Cobb LLP, attorneys for the Libby Claimants in
the above-referenced cases, and on the 15th day of July, 2009, he caused a copy of the following:

           ORDER FOR LEAVE FROM CASE MANAGEMENT ORDER AND TO
            SHORTEN NOTICE AND EXPEDITED CONSIDERATION OF LIBBY
           CLAIMANTS’ MOTION TO DEFER CONSIDERATION OF DEBTORS’
             MOTION TO APPROVE SETTLEMENT WITH ROYAL PARTIES
                               [Docket No. 22459]

to be served upon the parties identified on the attached list via electronic mail.



                                               Michael V. Girello

                      SWORN TO AND SUBSCRIBED before me this 15th day of July, 2009.

                                                   4                    /   ,

                                                                 / 7
                                               Notary Public
                                                         MICHELE M
                                                            NOTARY PUBLIC
                                                        STATE EAWApE




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